
706 S.E.2d 254 (2011)
STATE of North Carolina ex rel. COMMISSIONER OF INSURANCE and North Carolina Rate Bureau
v.
DARE COUNTY, Town of Nags Head, Town of Southern Shores, Starco Realty &amp; Construction, Inc., Joseph M. Geraghty, Washington County, Currituck County, Hyde County, The Town of Duck, The Town of Southern Shores, and The Town of Indian Beach.
No. 227P10.
Supreme Court of North Carolina.
March 10, 2011.
Daniel S. Johnson, Special Deputy Attorney General, for Dept. of Insurance.
R. Michael Strickland, for NC Rate Bureau.
M. Keith Kapp, Raleigh, for Dare County, et al.
David W. Boone, Assistant Attorney General, for State.

ORDER
Upon consideration of the petition filed on the 25th of May 2010 by Defendants in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 10th of March 2011."
JACKSON, J. recused.
